                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

GLENN LAMAR GRAY,                                        )
                                                         )
        Plaintiff,                                       )
                                                         )
        v.                                               )            No. 4:20-00574-CV-DGK-SSA
                                                         )
CAROLYN W. COLVIN,                                       )
Acting Commissioner of Social Security,                  )
                                                         )
        Defendant.                                       )

         ORDER GRANTING IN PART APPLICATION FOR ATTORNEYS’ FEES

        This case arises from the Commissioner of Social Security’s (“the Commissioner”) denial

of Plaintiff’s application for Social Security benefits. Plaintiff filed this lawsuit challenging the

denial, and the Court granted the Commissioner’s motion to remand.

        Now before the Court are a revised application for attorneys’ fees pursuant to the Equal

Access to Justice Act (“EAJA”), 28 U.S.C. § 2412, ECF No. 30, 1 and a subsequent motion for

attorneys’ fees brought under 42 U.S.C. § 406(b), ECF No. 33. The former, brought after the

Court remanded the case, seeks $7,300.00 in attorneys’ fees and costs. The latter, brought

following Plaintiff’s success on remand, seeks a total of $16,918.75 as a contingency fee.

Defendant agrees to the amount requested in the revised application, and it “neither supports nor

opposes” the subsequent request for $16,918.75 under § 406(b).

        For the following reasons, the Court GRANTS IN PART the application and awards

Plaintiff attorneys’ fees and costs totaling $4,905.63.

        Plaintiff reports spending a total of 32 hours on this case. Exh. A to Application for

Attny Fees at 1–2, ECF No. 30-1. Plaintiff’s counsel spent 9 hours drafting and revising the

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 The initial application sought $7,641.33 in attorneys’ fees and costs. After discussions with Defendant, Plaintiff
agreed to reduce the request to $7,300.



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initial brief, and 5.7 hours reviewing Defendant’s brief and drafting a reply, at a compensable

rate of $202.50 per hour. Id. at 2. As detailed in the Court’s Show Cause order, ECF No. 24,

and Order Regarding Sanctions, ECF No. 38, some of the arguments advanced in these briefs

misstated the law. Consequently, the Court is cutting the compensable time spent writing and

editing these briefs in half, to 7.35 hours. This reduces the total amount of compensable time to

24.65 hours. At $202.50 per hour, this yields a compensable amount of $4,505.63 for the EAJA

fee application.

       Plaintiff’s counsel suggests the Court award an additional amount equal to 2.8 times the

hourly rate submitted on the EAJA application. Under § 406(b), the Court “may” allow a

reasonable fee for cases taken on a contingent fee basis an amount equal to no more than 25% of

the total of past-due benefits. Given the circumstances, the Court declines to award or approve

any additional amount under § 406(b) because an amount in excess of $4,505.63 would not be

reasonable for the work performed on this case.

       The Court awards Plaintiff attorneys’ fees of $4,505.63 to be paid by the Social Security

Administration and court costs of $400 to be paid by the Judgment Fund administered by the

Treasury Department. After the Commissioner verifies that Plaintiff does not owe a debt to the

United States that is subject to offset, the Commissioner will pay the total amount to Plaintiff’s

attorney, Roger Driskill, and the payment will be mailed to his office pursuant to Plaintiff’s fee

agreement.

Date: January 8, 2025                               /s/ Greg Kays
                                                  GREG KAYS, JUDGE
                                                  UNITED STATES DISTRICT COURT




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